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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                )
                                        )
v.                                      )      Case No. 1:21-cr-00115 (CRC)
                                        )
EDUARDO NICOLAS                         )
ALVEAR GONZALEZ                         )
                                        )
       Defendant.                       )


     EDUARDO ALVEAR NICOLAS GONZALEZ’S MOTION FOR RELEASE

        Eduardo Nicolas Alvear Gonzalez was sentenced to 24 months of probation

on a misdemeanor offense March 3, 2022. His conditions included a fine,

restitution, and 200 hours of community service, all of which have been satisfied.

See Violation Petition, ECF No. 57. On May 5, 2022, he was arrested in Nashville,

Tennessee on a probation violation petition alleging essentially two infractions:

that he used marijuana over a year ago on April 4, 2022; and that he over-stayed

on his travel and changed his residence to Tennessee without the approval of the

probation officer. See id. 4-5. It does not appear that there is any allegation that

the probation officer was unaware of Mr. Alvear’s address or location throughout

his supervision.

        At his initial appearance on the violation petition in Nashville, the

Magistrate Judge expressed doubt as to whether that court had the authority to

hold a detention hearing on the out-of-district petition and provided the option to

have counsel further brief the issue. However, because briefing the matter would
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    have prolonged it with no guarantee that Mr. Alvear would have even been able to

    have a detention hearing there, Mr. Alvear elected to have the detention hearing

    in DC. At this point, though, it has been 14 days and Mr. Alvear has not been

    transferred and has not had a detention hearing.

          Mr. Alvear has no criminal history except traffic violations and the

    underlying crime in this matter is a misdemeanor. Mr. Alvear has had no other

    violation reports, no history of failing to appear, he is employed, has completed

    over half of his period of supervision, and satisfied his substantial community

    service obligation early. In fact, he fulfilled his community service requirement

    with purpose and enthusiasm. See Def.’s Ex. 1 (describing Mr. Alvear as “pouring

    himself into” his service with “enthusiasm and love”). He intends to continue his

    service to this organization, finding the work meaningful and important.

          The alleged violations do not warrant continued detention. One is an

    allegation that he used marijuana over a year ago. The second, involves a dispute

    over where he had permission to reside.1 He has now served 14 days in jail and it

    is unclear when the United States Marshals will be able to transfer Mr. Alvear.

          In addition to the deprivation of liberty, each day Mr. Alvear spends in

    custody further jeopardizes the success of his business which depends on online

    subscribers who pay for access to his internet-based films. These subscribers

    expect (and pay for) Mr. Alvear to produce content. The more prolonged his



1It is also worth noting that when Mr. Alvear was denied permission to travel
abroad, he complied.
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absence, the more likely these individuals are to cancel their subscriptions. Mr.

Alvear depends on his business to support himself as well as his daughter for

whom he pays child support.

       Therefore, Mr. Alvear respectfully requests that the Court release him to

allow him to reside in the Middle District of Tennessee at the address he provided

the probation officer on the same terms and conditions detailed in his judgment,

and to appear before this Honorable Court at a violation hearing date to be

determined by the Court. Mr. Alvear is also amenable to electronic monitoring,

should the Court seek additional restrictions.

       Counsel conferred with the government who opposes this request.

      A proposed order is attached.

      For all of these reasons, Mr. Alvear respectfully requests that he be released

from custody.




                                       Respectfully submitted,
                                       EDUARDO NICOLAS ALVEAR
                                       GONZALEZ
                                       By Counsel
                                       CARMICHAEL ELLIS & BROCK, PLLC
                                              /s/
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